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				SUSPENSION OF CERTIFICATES OF CERTIFIED SHORTHAND REPORTERS2015 OK 10Decided: 03/02/2015THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2015 OK 10, __ P.3d __

				

FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 





RE: Suspension of Certificates of Certified Shorthand 
Reporters
ORDER
The Oklahoma Board of Examiners of Certified Shorthand Reporters has 
recommended to the Supreme Court of the State of Oklahoma the suspension of the 
certificate of each of the Oklahoma Certified Shorthand Court Reporters listed 
on the attached Exhibit for failure to comply with the continuing education 
requirements for calendar year 2014 and/or with the annual certificate renewal 
requirements for 2015. 
Pursuant to 20 O.S., Chapter 20, App. 1, Rule 20(c), failure to satisfy the 
annual renewal requirements on or before February 15 shall result in 
administrative suspension on that date. Pursuant to 20 O.S., Chapter 20, App. 1, 
Rule 23(d), failure to satisfy the continuing education reporting requirements 
on or before February 15 shall result in administrative suspension on that date. 

IT IS THEREFORE ORDERED that the certificate of each of the court reporters 
named on the attached Exhibit is hereby suspended effective February 15, 
2015.
DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 2ND day of 
March, 2015. 
/S/CHIEF JUSTICE
ALL JUSTICES CONCUR.




Exhibit

  
  
    
      Name
    
      CSR #
    
      Reason
  
    
      Jennifer L. Adams
    
      1936
    
      Continuing Education
  
    
      Lisa D. Carpenter
    
      1758
    
      Continuing Education and Renewal 
  Fee
  
    
      Laurie Johnson
    
      1437
    
      Continuing Education and Renewal 
  Fee
  
    
      Kristin C. Randall
    
      1784
    
      Continuing Education and Renewal 
  Fee
  
    
      Deanna Szurgot
    
      1665
    
      Continuing Education and Renewal 
  Fee
  
    
      Krista L. Wagner
    
      1870
    
      Continuing Education and Renewal 
  Fee
&nbsp;
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